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[Doddos] [District Order Denying, Disapproving, Overruling, or Striking]




                                            ORDERED.
Dated: December 7, 2021




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION
                                             www.flmb.uscourts.gov



In re:                                                                       Case No.
                                                                             6:21−bk−04261−LVV
                                                                             Chapter 7

Lydia H Crayton
dba Shelf Overstocks




________Debtor*________/



 ORDER DENYING MOTION TO CONVERT UNDER CHAPTER 7 TO CASE UNDER CHAPTER 13

   THIS CASE came on for consideration, without hearing, of the Motion to Convert Case Under Chapter 7 to
Case under Chapter 13 filed by Debtor , Doc. # 35 . After review, the Court determines that the motion is
deficient as follows:

         Service upon all creditors on the matrix using a current mailing matrix obtained from the
         Clerk of Court is not indicated or the current mailing matrix obtained from the Clerk of Court
         was not attached. Fed. R. Bankr. P. 2002(a), Fed. R. Bankr. P. 3015(g) and Local Rule
         9013−3(e).
                Case 6:21-bk-04261-LVV              Doc 36      Filed 12/07/21        Page 2 of 2

   Accordingly it is

   ORDERED:

        The motion is denied to allow movant to file an amended motion.




The Clerk's Office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
